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 6                                UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8
 9    JOSEPH STANLEY PIGOTT,                           Case No. C19-1489RSM
10
                    Plaintiff,                         ORDER STRIKING ALL MOTIONS AND
11                                                     TO SHOW CAUSE
                       v.
12
13    HEATHER WINSLOW BARR, et al.,

14                Defendants.
15
            Pro se Plaintiff Joseph Stanley Pigott has been granted leave to proceed in forma
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     pauperis in this matter. Dkt. #32. The Complaint was posted on the docket on October 25,
17
     2019. Dkt. #33. Summonses have not yet been issued. However, prior to any of this, Mr.
18
19   Pigott attempted to serve Defendants and file proofs of service. See Dkts. #3 and #4. These

20   proofs are obviously deficient as the summonses were served on Defendants before Mr. Pigott
21
     was granted IFP status and before the Clerk could issue summonses. Because Summonses
22
     have not yet been issued, no Defendant has been properly served and it is not possible for any
23
24   Defendant to be in default.

25          Mr. Pigott of Burien brings suit against his ex-wife Heather Winslow Barr and several
26   attorneys involved with divorce proceedings in King County Superior Court. Dkt. #33. He
27
     claims that the divorce proceedings violated the Moorish American Treaty of Peace &
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     Friendship of 1787 as well as R.I.C.O. laws and that he is actually King Abdul Mumin El of
 1
 2   Morocco.    Id.     Mr. Pigott pleads that Defendants owe him “over $60,000,000.00 for

 3   OBSTRUCTION OF JUSTICE…” Id. at 6 (emphasis in original). He goes on to allege that
 4
     “Attorney Barbara Linde pretended to be a Judge” and that he “demanded that the case for
 5
     Divorce be had in an U.S. Constitution Article III Moroccan Court, because I am a Moor/Noble
 6
 7   and there are no Official Judicial Bonds for the Judges & Oaths of Offices are void.” Id. He

 8   goes on to challenge the procedures of the divorce proceedings, including that the judge refused
 9   to recuse herself, that she “just stop listening to me and started talking to Heather Barr and was
10
     asking Heather to testify against me,” and that Ms. Barr’s attorneys had a conflict of interest
11
     and engaged in treason. Id. at 7. He alleges that Ms. Barr improperly informed the divorce
12
13   court of a lis pendens action against Mr. Pigott’s property, and that his property is being stolen

14   from him. Allegedly at the hearing three attorneys admitted to being at war with the Moors and
15   working for the Ku Klux Klan. Id. at 9. Mr. Pigott alleges that Defendants have used King
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     County Superior Court as a “war machine.” Id. at 11.
17
            The Court will dismiss a Complaint at any time if the action fails to state a claim, raises
18
19   frivolous or malicious claims, or seeks monetary relief from a defendant who is immune from

20   such relief. See 28 U.S.C. § 1915(e)(2)(B).
21
            The Court does not see a basis for subject matter jurisdiction in this matter. The parties
22
     all reside in the State of Washington, thus there is no jurisdiction based on diversity. The U.S.
23
24   Constitution and R.I.C.O. claims rest on facts that appear to be entirely frivolous. Further, any

25   claim Mr. Pigott has with the proceedings in the state court are properly addressed on appeal
26   within the state court system. Plaintiff’s Complaint appears to suffer from deficiencies that
27
     require dismissal. See 28 U.S.C. § 1915(e)(2)(B).
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            In response to this Order, Plaintiff must write a short and plain statement telling the
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 2   Court: (1) facts to support his R.I.C.O. claim and claim that Defendants violated a treaty as to

 3   him personally in the divorce proceedings, (2) why this case is not properly brought as an
 4
     appeal within the state court system, and (3) why this case should not be dismissed as frivolous.
 5
     This Response may not exceed six (6) pages. Plaintiff is not to file additional pages as
 6
 7   attachments and the Court will consider no further pages. No other parties need to file a

 8   response. The Court will take no further action in this case until Plaintiff has submitted this
 9   Response.
10
            Accordingly, the Court hereby finds and ORDERS:
11
            1) Plaintiff shall file a Response to this Order to Show Cause containing the detail
12
13               above no later than twenty-one (21) days from the date of this Order. Failure to

14               file this Response will result in dismissal of this case.
15          2) Mr. Pigott’s prior Motions for Default, Dkts. #9, #13, #15, #17, #19, #21, #23, and
16
                 #25 are DENIED. Those parties cannot be in default as summonses have not been
17
                 issued in this case.
18
19          3) All other pending Motions are STRICKEN AS MOOT.

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            DATED this 28 day of October 2019.
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24                                                  A
                                                    RICARDO S. MARTINEZ
25                                                  CHIEF UNITED STATES DISTRICT JUDGE
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     ORDER STRIKING ALL MOTIONS AND TO SHOW CAUSE - 3
